

People v Rivera (2024 NY Slip Op 00169)





People v Rivera


2024 NY Slip Op 00169


Decided on January 16, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 16, 2024

Before: Moulton, J.P., Kapnick, Scarpulla, Higgitt, O'Neill Levy, JJ. 


Ind. No. 3492/18 Appeal No. 1422 Case No. 2019-04907 

[*1]The People of the State of New York, Respondent,
vRaymond Rivera, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nathan R. Brown of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alex King of counsel), for respondent.



Judgment, Supreme Court, New York County (Steven M. Statsinger, J.), rendered July 25, 2019, convicting defendant, upon his plea of guilty, of robbery in the second degree and robbery in the third degree, and sentencing him to a term of four years, followed by five years of postrelease supervision, on the second degree count, and to time served on the third degree count, unanimously affirmed.
Upon consideration of defendant's arguments in support of his request for a
sentence reduction in the interest of justice (see  CPL 470.15 [6] [b]), we perceive no basis for reducing the five-year term of postrelease supervision.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 16, 2024








